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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11   GABRIEL SAUCEDA,                 ) Case No. 2:20-cv-01040-SP
                                      )
12                      Plaintiff,    )
                                      ) JUDGMENT
13                  v.                )
                                      )
14    KILOLO KIJAKAZI, Acting         )
      Commissioner of Social Security )
15    Administration,                 )
                                      )
16                      Defendant.    )
     _____________________________ )
17
18         Pursuant to the Memorandum Opinion and Order filed contemporaneously
19 with the filing of this Judgment,
20         IT IS HEREBY ADJUDGED that the decision of the Commissioner of the
21 Social Security Administration is AFFIRMED and this action is dismissed with
22 prejudice.
23
24 Dated: September 29, 2021
25
                                        SHERI PYM
26                                      United States Magistrate Judge
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